Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 1 of 86




          EXHIBIT 103
       FILED UNDER SEAL
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 2 of 86




                  EXHIBIT 105
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 3 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 4 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 5 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 6 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 7 of 86




          EXHIBIT 106
       FILED UNDER SEAL
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 8 of 86




                  EXHIBIT 107
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 9 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 10 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 11 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 12 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 13 of 86




                   EXHIBIT 108
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 14 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 15 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 16 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 17 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 18 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 19 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 20 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 21 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 22 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 23 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 24 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 25 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 26 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 27 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 28 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 29 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 30 of 86




                   EXHIBIT 109
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 31 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 32 of 86




                   EXHIBIT 110
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 33 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 34 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 35 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 36 of 86




           EXHIBIT 111
        FILED UNDER SEAL
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 37 of 86




                   EXHIBIT 112
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 38 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 39 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 40 of 86




           EXHIBIT 113
        FILED UNDER SEAL
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 41 of 86




                   EXHIBIT 114
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 42 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 43 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 44 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 45 of 86




                   EXHIBIT 115
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 46 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 47 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 48 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 49 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 50 of 86




                   EXHIBIT 116
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 51 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 52 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 53 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 54 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 55 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 56 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 57 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 58 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 59 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 60 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 61 of 86




                   EXHIBIT 117
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 62 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 63 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 64 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 65 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 66 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 67 of 86




                   EXHIBIT 118
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 68 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 69 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 70 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 71 of 86




                   EXHIBIT 119
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 72 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 73 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 74 of 86




                   EXHIBIT 120
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 75 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 76 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 77 of 86




                   EXHIBIT 121
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 78 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 79 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 80 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 81 of 86




                   EXHIBIT 122
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 82 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 83 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 84 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 85 of 86
Case 4:09-cv-01237 Document 405-16 Filed on 10/23/12 in TXSD Page 86 of 86




           EXHIBIT 123
        FILED UNDER SEAL
